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 4                                                            Honorable Richard A. Jones

 5

 6                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WASHINGTON
 7                                  AT SEATTLE
 8

 9
     CODY J. HOEFS,                                    )
                                                       )    NO. 20-CV-05173 RAJ
10                       Plaintiff,                    )
                                                       )    EXHIBIT 1 TO RESPONSE TO
11         vs.                                         )    DEFENDANT’S MOTION TO
                                                       )    DISMISS
12   SIG SAUER INC.                                    )
                                                       )
13                       Defendants.                   )
                                                       )
14

15
                   See attached.
16
                   DATED THIS 19th day of April, 2021.
17
                                         HESTER LAW GROUP, INC., P.S.
18                                       Attorneys for Plaintiff
19

20
                                         By:     s/ Brett A. Purtzer
21                                               Brett A. Purtzer
                                                 WSB# 17283
22

23

24

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     EXHIBIT 1 TO RESPONSE TO DEFENDANT’S MOTION TO        HESTER LAW GROUP, INC., P.S.
     DISMISS - 1
                                                           1008 SOUTH YAKIMA AVENUE, SUITE 302
                                                               TACOMA, WASHINGTON 98405
                                                                       (253) 272-2157
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       Case 3:20-cv-05173-RAJ Document 29 Filed 04/19/21 Page 3 of 3




                                  CERTIFICATE OF SERVICE
 1

 2          Kathy Herbstler, hereby certifies under penalty of perjury under the laws of
 3   the State of Washington, that on the day set forth below, I electronically filed the
 4   foregoing with the Clerk of the Court using the CM/ECF system which will send

 5   notification of such filing to the attorneys of record for the defendant and hereby

 6   certify that I have emailed the document to plaintiff pursuant to agreement.

 7          Signed at Tacoma, Washington this 19th day of April, 2021.

 8

 9                                                /s Kathy Herbstler
                                                  Kathy Herbstler
10

11                                                HESTER LAW GROUP, INC. P.S.
                                                  1008 South Yakima, #302
12                                                Tacoma, WA 98405
                                                  253-272-2157
13                                                253-572-1441 fax
                                                  kathy@hesterlawgroup.com
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      EXHIBIT 1 TO RESPONSE TO DEFENDANT’S MOTION TO       HESTER LAW GROUP, INC., P.S.
      DISMISS - 2
                                                           1008 SOUTH YAKIMA AVENUE, SUITE 302
                                                               TACOMA, WASHINGTON 98405
                                                                       (253) 272-2157
